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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                           BUTTE DIVISION




 UNITED STATES OF AMERICA,
                                                  CR 19-05- BU-DLC
                      Plaintiff,

        vs.                                         ORDER

 DYLAN JOSEPH JARDIN,

                      Defendant.

      This matter comes before the Court on the United States' Motion for Final

Order of Forfeiture (Doc. 108). Having reviewed said motion, the Court finds:

      1. The United States commenced this action pursuant to 21 U.S.C.

         § 853(a)(l) and (2), and Rule 32.2, Federal Rules of Criminal Procedure.

      2. A Preliminary Order of Forfeiture was entered on June 18, 2019. (Doc.

         91).

      3. All known interested parties were provided an opportunity to respond and

         publication has been effected as required by 21 U.S.C. § 853(n)(l).

         (Doc. 105-1 ).

      4. It appears there is cause to issue a forfeiture order under 21 U.S.C.

         § 853(a)(l) and 2, and Rule 32.2, Federal Rules of Criminal Procedure.

IT IS ORDERED:

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THAT the Motion for Final Order of Forfeiture (Doc. 108) is GRANTED;

THAT judgment of forfeiture of the following property shall enter in favor of the

United States pursuant to 21 U.S.C. § 853(a)(l) and 2, and Rule 32.2, Federal

Rules of Criminal Procedure, free from the claims of any other party:

      • $4,012.00 in United States Currency.

THAT the United States shall have full and legal title to the forfeited property and

may dispose of it in accordance with law.

      DATED this I 1~ ay of August, 2019.




                                               Dana L. Christensen, Chief Judge
                                               United States District Court




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